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  IT IS ORDERED as set forth below:



   Date: January 20, 2017                    ___________________________

                                                      W. Homer Drake
                                                U.S. Bankruptcy Court Judge
  _______________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                NEWNAN DIVISION

IN THE MATTER OF:                        :     CASE NUMBER
                                         :
GLENN LEE THOMPSON,                      :     11-11192-WHD
HEIKE BIRGIT THOMPSON,                   :
_______________________________          :
                                         :
GUY G. GEBHARDT,                         :     ADVERSARY PROCEEDING
Acting United States Trustee,            :     NO. 15-1016-WHD
                                         :
       Plaintiff,                        :
                                         :
       v.                                :
                                         :
GLENN LEE THOMPSON,                      :     IN PROCEEDINGS UNDER
HEIKE BIRGIT THOMPSON,                   :     CHAPTER 7 OF THE
                                         :     BANKRUPTCY CODE
       Defendants.                       :

                                        ORDER

       Before the Court is the Motion in Limine filed by Glenn Lee Thompson and

Heike Birgit Thompson (hereinafter the “Debtors”) in the above-styled adversary
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proceeding. The Debtors request that the Court bar Guy G. Gebhardt (hereinafter

the “U.S. Trustee”), Acting United States Trustee for Region 21 and the plaintiff in

this proceeding, from presenting certain evidence at trial pursuant to Federal Rule

of Civil Procedure 37(c)(1).



                                    Background



      In the instant proceeding, the U.S. Trustee seeks to revoke the Debtors’

Chapter 7 discharge. On September 12, 2016, the Debtors filed a motion for

summary judgment, which this Court granted in part and denied in part on

November 16, 2016. As a result of the Court’s ruling, the only issue remaining for

trial is whether the Debtors’ discharge should be revoked pursuant to § 727(d)(2)

of the Bankruptcy Code, which allows revocation of a discharge in situations in

which “the debtor acquired property that is property of the estate, or became

entitled to property that would be property of the estate, and knowingly and

fraudulently failed to report the acquisition of or entitlement to such property, or to
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deliver or surrender such property to the trustee.” 11 U.S.C. § 727(d)(2).

      In the motion currently before the Court, the Debtors assert that the U.S.

Trustee intends to show at trial that the Debtors fraudulently failed to report the

acquisition of two classes of property in the Debtors’ bankruptcy case: cash

received from Nattco, Inc. (hereinafter “Nattco Cash”), and the payment of the

Debtors’ personal expenses by GHT United, LLC. Having bifurcated the evidence

in this way, the Debtors maintain that the U.S. Trustee did not disclose any

evidence concerning the acquisition of Nattco Cash in discovery, and therefore the

Court should prevent the U.S. Trustee from presenting any evidence relating to the

Debtors’ acquisition of Nattco Cash at trial. Additionally, the Debtors assert that at

least one representative of the U.S. Trustee has made statements suggesting that

the U.S. Trustee has no such evidence.

      The U.S. Trustee has responded to this motion, but the U.S. Trustee does not

address the Debtors’ arguments concerning discovery. Instead, the U.S. Trustee

argues that evidence concerning Nattco Cash is relevant, as that term is used in the

Federal Rules of Evidence. See Fed. R. Evid. 401; see also Fed. R. Bankr. P. 9017
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(making the Federal Rules of Evidence applicable in bankruptcy cases). In their

reply, the Debtors argue that Rule 37(c)(1) concerns a party’s conduct in

discovery, not the relevance of evidence.



                                    Discussion



       Federal Rule of Civil Procedure 37(c)(1) states,

      If a party fails to provide information or identify a witness as required
      by Rule 26(a) or (e), the party is not allowed to use that information or
      witness to supply evidence on a motion, at a hearing, or at a trial,
      unless the failure was substantially justified or is harmless. In
      addition to or instead of this sanction, the court, on motion and after
      giving an opportunity to be heard: [may impose other sanctions].

Fed. R. Civ. P. 37(c)(1); see also Fed. R. Bankr. P. 7037. The rule is meant to

impose a sanction on a party who fails to comply with the disclosure requirements

of Rule 26. See Morrison v. Mann, 244 F.R.D. 668, 672 (N.D. Ga. 2007); see also

Fed. R. Civ. P. 26(a), (e). If a party does not timely produce evidence in discovery,

a court may employ Rule 37(c)(1) to prohibit that party from using the evidence at


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trial. See In re Delta/AirTran Baggage Fee Antitrust Litigation, 846 F. Supp. 2d

1335, 1358 (N.D. Ga. 2012).        Because Rule 37(c)(1) excludes evidence as a

sanction, and not because of any relevance issue with the evidence itself, the

Debtors correctly assert that the U.S. Trustee’s discussion of relevance is inapt.

      Nevertheless, the Court will not grant the Debtors’ motion at this time.

Though the Debtors assert that the U.S. Trustee did not produce any evidence of

the acquisition of Nattco Cash in discovery, they do not point to any particular

evidence the Court should bar from trial. Instead, they assert that the U.S. Trustee

does not even have such evidence.         A motion under Rule 37(c)(1) is more

appropriately employed to target specific pieces of evidence that a party intends to

present at trial than as a blanket, pre-emptive attack on an entire class of evidence

which may not even exist.       See generally In re Delta/AirTran Baggage Fee

Antitrust Litigation, 846 F. Supp. 2d at 1355-58 (considering whether to allow a

party to present documents that were not timely disclosed in discovery).

Consequently, the Court questions whether the Debtors have actually presented it

with an issue to resolve—the Court sees no value in entering an order barring the
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presentation of potentially non-existent evidence.

      Though the Court will deny the Debtors’ motion, it does so mindful of the

fact “that denial of a motion in limine does not result in the admission of

[evidence].” Alliance Fin. Capital, Inc. v. Herzfeld (In re Herzfeld), 2007 WL

7143395, at * 2 (Bankr. N.D. Ga. Dec. 17, 2007) (Diehl, J.). The Court denies the

instant motion simply because the motion has not been brought in the proper

context. See id. (“Denial merely means that without the context of trial, the court

is unable to determine whether the evidence in question should be excluded.”

(quoting Hawthorne Partners v. AT&T Technologies, Inc., 831 F. Supp. 1398,

1401 (N.D. Ill. 1993))). The Debtors are free to raise issues with specific pieces of

the U.S. Trustee’s evidence when appropriate, such as after the submission of a

pre-trial order that discloses the evidence the parties propose to rely on at trial,

should they feel that the U.S. Trustee is attempting to introduce evidence that was

not disclosed in discovery in violation of the applicable paragraphs of Rule 26.




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                                     Conclusion

      In accordance with the foregoing, it is hereby ORDERED that the Debtors’

motion is DENIED without prejudice to the Debtors making renewed objections to

particular pieces of evidence that the U.S. Trustee intends to introduce at trial.

      The Clerk is DIRECTED to serve this Order on the Debtors, the Debtor’s

counsel, and the U.S. Trustee.

                               END OF DOCUMENT




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